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                           Exhibit 1
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  (12) United States Patent                                                 (10) Patent No.:                    US 7,903,971 B2
         Krimmel                                                            (45) Date of Patent:                          Mar. 8, 2011

  (54) METHOD OF OPERATING A PASSIVE                                     (56)                    References Cited
         OPTICAL NETWORK
                                                                                          U.S. PATENT DOCUMENTS
  (75) Inventor: Heinz-Georg Krimmel,                                           5,062,152 A * 10/1991 Faulkner ....................... 398,190
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  (*) Notice:         Subject to any disclaimer, the term of this         2004/0057733 A1*         3, 2004 Azadet et al. ..          ... 398,183
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  (21) Appl. No.: 11/390,313
                                                                         Primary Examiner — Dzung D Tran
  (22) Filed:         Mar. 28, 2006                                      (74) Attorney, Agent, or Firm — Harness, Dickey & Pierce
  (65)                    Prior Publication Data
         US 2006/0222362 A1            Oct. 5, 2006                      (57)                       ABSTRACT
                                   O   O                                 The invention relates to a method of operating a passive
  (30)             Foreign Application Priority Data                     optical network. The passive optical network comprises an
                                                                         optical line termination being connected via optical fibers to
      Apr. 4, 2005 (EP) ..................................... O5290737   a number of network terminations. The method comprises the
  (51) Int. Cl                                                           step of generating an optical signal to be transmitted on one of
         tion i0/20            (2006.01)                                 the optical fibers comprising a number of signal States. The
  (52) U.S. Cl.                          398/63: 398/76. 398/91             this characterized in that the number of signal states is
  (58) Field of Classification Search .................... sos.          changed.
                                                     398/76, 91
         See application file for complete search history.                                20 Claims, 2 Drawing Sheets




                   PON                 Na
                             Y.
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                                                       US 7,903,971 B2
                                1.                                                                 2
          METHOD OF OPERATING A PASSIVE                                In a further advantageous embodiment, it is not only pos
               OPTICAL NETWORK                                      sible to change between a first and a second number of signal
                                                                    states, but between several different numbers of signal states,
             BACKGROUND OF THE INVENTION                            for example between two (2) and four (4) and eight (8) and
                                                                    sixteen (16) signal states.
     The invention is based on a priority application                  In an advantageous embodiment of the invention, the num
  EP05290737.5 which is hereby incorporated by reference.           ber of signal states depends on the power of the received
     The invention relates to a method of operating a passive optical signal. For example, the optical line termination ana
  optical network comprising an optical line termination being 10 lyzes the received optical signal of a specific frame with
  connected via optical fibers to a number of network termina regard to its power and then evaluates a corresponding num
  tions and comprising the step of generating an optical signal ber of signal states. If the received power is high, the number
  to be transmitted on one of the optical fibers comprising a of signal states may also be high. This is a simple but effective
  number of signal states. The invention also relates to a corre method to define the number of signal states.
  sponding passive optical network, to a corresponding optical 15 It is advantageous, if the number of signal states is defined
  line termination and to a corresponding network termination. for any one of the network terminations. This allows to adopt
     It is known to define the transmission rate within a passive the transmission rate of any one of the network terminations
  optical network to a pre-defined value. Under this condition,     separately.
  all network terminations are able to communicate with the            In a further advantageous embodiment of the invention, the
  optical line termination.                                      2O optical power of the optical signal received at the optical line
     In order to incorporate network terminations in the passive termination is evaluated for a specific frame, the number of
  optical network that have a higher transmission rate, it is signal states is defined based on the evaluated optical power,
  known to use several different transmission rates at least in     and the defined number of signal states is assigned to that
  the upstream direction. In this case, the optical line termina    network termination from which the received frame was sent.
  tion must be adapted to all of the used transmission rates. In 25 Advantageously, that network termination from which the
  order to use several transmission rates in the downstream              received frame was sent, is informed about the defined num
  direction, the receivers of the network terminations would       ber of signal states.
  have to be adapted.                                                 Further features, applications and advantages of the inven
     However, the transmission qualities of the links between tion will become apparent from the following description of
  the optical line termination and the network terminations may 30 exemplary embodiments of the invention that are shown in
  be different or may even change from time to time. For the drawings. There, all described and shown features, sepa
  example, changes within the passive optical fiber network rately or in any combination, represent the subject matter of
  may have the consequence that a specific transmission path the invention, independently of the wording of these features
  includes an additional splitter with the result that the trans in the description and independently of the combination of
  mission quality of the link is reduced.                       35 these features in the claims or of the dependencies of the
    The known methods do not consider Such changes of the claims.
  transmission quality.
                                                                               BRIEF DESCRIPTION OF THE DRAWINGS
              SUMMARY OF THE INVENTION
                                                                    40   FIG. 1 shows a schematic block diagram of an embodiment
    It is an object of the invention to provide a method of           of a passive optical network according to the invention, and
  operating a passive optical network that is capable to consider     FIGS. 2a and 2b show Schematic diagrams of signals within
  changes of the transmission quality of a link.                      the passive optical network of FIG. 1.
     Based on a method as outlined above, the invention solves           In FIG. 1, a passive optical network PON is shown. On the
  this object by the step of changing the number of signal states. 45 side of the network provider, the passive optical network PON
     On one hand, if the transmission quality of the link proves provides an optical line termination OLT. On the customer
  to be better, it is possible to increase the number of signal side of the link, the passive optical network PON provides a
  states of the optical signal. Due to the better transmission number of network terminations NT1, NT2, NT3, NT4, NT5.
  quality, the optical line termination and/or the corresponding
  network termination is able to distinguish this increased num- 50               DETAILED DESCRIPTIONS OF THE
  ber of signal states correctly within a received optical signal.                              DRAWINGS
     On the other hand, if the transmission quality of the link
  proves to be worse, the number of signal states is decreased so        According to FIG. 1, the optical line termination OLT is
  that it is easier for the optical line termination and/or the connected with the first network termination NT1 by optical
  corresponding network termination to recognize the correct 55 fibers via a first optical splitter S1. The first optical splitter S1
  signal state within the received optical signal                     is connected by an optical fiber with a second optical splitter
     As a result, the number of signal states of the optical signal S2 which, in turn, is connected by an optical fiber with a third
  may be adapted based on the transmission quality of the link. optical splitter S3. The second and the fifth network termina
     An increase of the number of signal states, however, rep tion NT2, NT5, are connected with the second optical splitter
  resents an increase of the transmission rate. Therefore, the 60 S2 and the third and the fourth network termination NT3,
  invention provides an adaptation of the transmission rate NT4 are connected with the third optical splitter S3.
  depending on the transmission quality of the link.                       The transmission direction from the optical line termina
     In an advantageous embodiment, a first number of signal tion OLT to the network terminations NT1, NT2, NT3, NT4,
  states is two (2) and a second number of signal states is greater NT5 is called downstream. The opposite direction, i.e. the
  than two (2). Alternatively, it is possible that both, a first and 65 direction from the network terminations NT1, NT2, NT3,
  a second number of signal states are greater than two (2), but NT4, NT5 to the optical line termination OLT is called
  both are different from each other.                                    upstream.
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     The optical paths may be realized on a single fiber for              be directed to the optical power P of the received signals:
  combined upstream and downstream direction; however,                    however, the evaluation may alternatively or in addition com
  multiple fiber paths may also be present.                               prise evaluations of the error rate and/or the error ratio and/or
     The optical line termination OLT comprises a device for              the eye opening or the like of the received optical signals.
  transmitting and receiving optical signals via the connected       5       Based on the evaluation, the optical line termination OLT
  optical fiber. Furthermore, the optical line termination OLT            defines a signaling mode for each of the received frames. This
  comprises a device for analyzing received optical signals and           signaling mode comprises a specific number of signal states
  for generating signal states for the upstream direction. These          wherein each of the signal states is defined by a different
  signal states will be explained later.                                  optical power or a different optical intensity or the like. Then,
     Any one of the network terminations NT1, NT2, NT3,              10   the optical line termination OLT assigns this signaling mode,
  NT4, NT5 comprises a device for transmitting and receiving              i.e. the corresponding number of signal states, to the upstream
  optical signals. Any one of the optical splitters S1, S2, S3 is         direction of that network terminations NT1, NT2, NT3, NT4,
  designed to forward optical signals received at one of the              NT5 from which the frame was sent.
  connected optical fibers of one side to the connected optical              If the optical signal of a received frame coming from e.g.
  fibers of the other side, and vice versa.                          15   the network termination NT1 has a high optical power Pand
    The data to be transmitted in the downstream direction is             enough margin of the transmission link quality, then the opti
  encapsulated in frames. Any one of the frames comprises a               cal line termination OLT defines a signaling mode with e.g. a
  destination address. The optical line termination OLT sends             number of 16 signal states in connection with the network
  these frames one after the other with the corresponding des             termination NT1. However, if the optical signal of a received
  tination addresses. All network terminations NT1, NT2, NT3,             frame coming from e.g. the network termination NT4 has a
  NT4, NT5 receive all frames. Each one of the network termi              low optical power P, then the optical line termination OLT
  nations NT1, NT2, NT3, NT4, NT5 examines the destination                defines a signaling mode with e.g. a number of 2 signal states
  address of a received frame. If a respective frame is addressed         in connection with the network termination NT4. Other sig
  to one of the network terminations NT1, NT2, NT3, NT4,                  naling modes may have other numbers of signal states, e.g. 8
  NT5, then this specific network termination, e.g. NT2, stores      25   and/or 4 for received optical powers P that are in between a
  the received frame for further processing.                              high received power P and a low received power P.
     The data to be transmitted in the upstream direction is also            A number of 16 signal States means that the optical signal
  encapsulated. However, each one of the network terminations             received from the respective network termination, e.g. the
  NT1, NT2, NT3, NT4, NT5 is only allowed to send data                    network termination NT1, may have 16 different values,
  within allocated time frames. The optical line termination         30   wherein each of these values corresponds to a different binary
  OLT, therefore, receives a sequence of frames from the dif              value. Based on these 16 different signal states, therefore, it is
  ferent network terminations NT1, NT2, NT3, NT4, NT5.                    possible to encode 4 binary digits in each transmitted symbol.
    As all frames transmitted in the downstream direction are                However, if there is only a number of 2 signal states, then
  generated by the same optical line termination OLT, the trans           the optical signal received from the respective network ter
  mitted intensities of the corresponding optical signals are also   35   mination, e.g. from the network termination NT4, may only
  the same. This is shown in FIG.2a.                                      represent 2 different values. Based on these 2 different signal
     FIG. 2a shows a diagram of the transmitted optical power             states, therefore, it is possible to encode only 1 binary digit in
  P at the output of the optical line termination OLT over the            each transmitted symbol.
  time t. In FIG. 2a, a sequence of frames is transmitted by the             Having 8 signal states, 3 binary digits can be encoded per
  optical line termination OLT in the downstream direction           40   symbol, and having 4 signal states, 2 binary digits can be
  “DS”. As can be seen, all frames have the same power P.                 encoded per symbol.
     In contrast thereto, all frames received in the upstream                As a consequence, if the symbol rate is e.g. 1.244, 16
  direction by the optical line termination OLT, are generated            Mbaud, and if the number of the signal states in connection
  by different network terminations NT1, NT2, NT3, NT4,                   with a specific network termination is 16, then the transmis
  NT5. The frames from the different network terminations            45   sion rate from and to this network termination is 4x1.244, 16
  NT1, NT2, NT3, NT4, NT5 are transmitted via different paths             Mbits/sec. If the number of signal states is 8, then the trans
  through the passive optical network PON. The number of                  mission rate is 3x1.244, 16 Mbits/sec. if the number of signal
  optical splitters and the length of the optical fibers being            states is 4, then the transmission rate is 2x1.244, 16 Mbits/sec.
  passed, therefore, are also different for the different frames.         and if the number of signal states is 2, then the transmission
     As a result, the optical signals corresponding to the differ    50   rate is 1.244, 16 Mbits/sec which corresponds to the symbol
  ent frames received in the upstream direction by the optical            rate of 1.244, 16 Mbaud.
  line termination OLT generally have different intensities.                 The optical line termination OLT then informs the respec
  This is shown in FIG.2b.                                                tive network termination about the evaluated signaling mode,
     FIG.2b shows a diagram of the received optical power Pat             i.e. about the evaluated number of signal states. Then, the
  the input of the optical line termination OLT over the time t.     55   Subsequent transmissions between the respective networkter
  In FIG.2b, a sequence of frames is received by the optical line         mination and the optical line termination OLT in the upstream
  termination OLT in the upstream direction “US. As can be                direction are carried out using the defined number of signal
  seen, the frames have different powers P.                               States.
     Each frame is built up of symbols. In connection with all              This procedure is carried out for all network terminations
  frames being transmitted in upstream or in downstream direc        60   NT1, NT2, NT3, NT4, NT5. As well, this procedure is
  tion, a maximum symbol rate or Baud rate is pre-defined. For            repeated consecutively or from time to time for all network
  example, this rate is 1.244, 16 Mbaud. This pre-defined rate            terminations NT1, NT2, NT3, NT4, NT5.
  remains constant.                                                          As a result, the transmission between any one of the net
    The optical line termination OLT analyzes the received                work terminations NT1, NT2, NT3, NT4, NT5 and the optical
  frames from the different network terminations NT1, NT2,           65   line termination OLT in the upstream direction is always
  NT3, NT4, NT5 and evaluates the received optical signals                adapted to the actual quality of the optical signal received by
  within each of the corresponding frames. This evaluation may            the optical line termination OLT. E.g. based on the received
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  power Pand/or other quality criteria, the signaling mode for               The invention claimed is:
  the respective network terminations NT1, NT2, NT3, NT4,                     1. A method of operating a passive optical network com
  NT5 is evaluated and adjusted, if necessary. The transmission            prising an optical line termination being connected via a
  rate between the optical line termination OLT and the net                plurality of optical fibers to a plurality of network termina
  work terminations NT1, NT2, NT3, NT4, NT5 is thereby                     tions and comprising the step of generating an optical signal
  permanently optimized.                                                   for transmission over one of the plurality of optical fibers, the
     Alternatively or in addition, it is possible to implement a           optical signal including a plurality of signal states, each signal
  similar scenario in the downstream direction. In this case, one          state corresponding to a different sequence of bits, wherein
  or more of the network terminations NT1, NT2, NT3, NT4,                  the plurality of signal states and the number of bits in each
  NT5 are adapted to analyze the frames received from the             10   sequence are increased based on a transmission quality of the
  optical line termination OLT with regard to the optical power            optical signal on the one of the plurality of optical fibers.
  of the received optical signals or with regard to other criteria            2. The method of claim 1, wherein the transmission quality
                                                                           of the optical signal is an optical power of the optical signal of
  like the error rate and/or the error ratio and/or the eye opening        the one of the plurality of optical fibers.
  of the optical signal received from the optical line termination    15      3. The method of claim 1, wherein the transmission quality
  OLT. The respective network termination sends the results of             of the optical signal is at least one of an error rate, error ratio
  the analysis back to the optical line termination OLT which              and an eye opening of the optical signal of the one of the
  then defines a signaling mode as described above, based on               plurality of optical fibers.
  the received results. The transmissions between the optical                 4. The method of claim 1, wherein the optical signal cor
  line termination OLT and the respective network termination              responds to a specific frame.
  in the downstream direction may then be carried out using the               5. The method of claim 4, wherein the specific frame cor
  defined signaling mode.                                                  responds to one of the network terminations.
     As a requirement for carrying out the described proce                   6. The method of claim 1, wherein for at least one of an
  dures, the optical line termination OLT and/or the network               upstream direction and downstream direction, the plurality of
  terminations NT1, NT2, NT3, NT4, NTS must be able to                25   signal states is forwarded to at least one of the network ter
  generate an optical signal with e.g. 16 different signal states,         minations.
  and to distinguish 16 different signal states of a received                7. The method of claim 1, wherein for at least one of an
  optical signal.                                                          upstream direction and downstream direction, the plurality of
     Ofcourse, the optical line termination OLT must fulfill this          signal states is defined for any one of the network termina
  requirement in any case.                                            30   tions.
     However, it is possible that only “new” network termina                  8. The method of claim 1, wherein an optical power of the
  tions are able to fulfill this requirement, whereas “old” net            optical signal of the one of the plurality of optical fibers is
  work terminations remain to work with only 2 signal states.              evaluated for a specific frame, wherein the plurality of signal
  The address of these “old” network terminations may be                   states is defined based on the evaluated optical power, and
  stored in the optical line termination OLT so that the number       35   wherein the defined plurality of signal states is assigned to
  of signal states is held fixed for these “old” network termina           that network termination from which the received frame was
  tions. These “old” network terminations, therefore, do not               Sent.
  have to be replaced.                                                       9. The method of claim 8, wherein a network termination
     Furthermore, it is possible that in the downstream direction          from which the received frame was sent, is informed about the
  at least the address, in particular the header of the address, of   40   defined plurality of signal states.
  any frame is always sent with only 2 signal States. This                    10. The method of claim 1, wherein the plurality of signal
  ensures that any one of the network terminations, i.e. “old”             states is decreased based on the transmission quality of the
  ones and “new” ones', are able to read the received address or           optical signal of the one of the plurality of optical fibers.
  header correctly.                                                           11. A passive optical network comprising an optical line
     As well it is possible that the described number of signal       45   termination being connected via a plurality of optical fibers to
  states is only introduced in one of the two transmission direc           a plurality of network terminations wherein the optical line
  tions, e.g. in the upstream direction. Then, the network ter             termination is configured to generate an optical signal includ
  minations must only be able to generate an optical signal with           ing a plurality of signal states, each signal state corresponding
  e.g. 16 different signal states. However, the receivers of the           to a different sequence of bits, wherein the plurality of signal
  network terminations do not need to be able to detect the 16        50   states and the number of bits in each sequence are increased
  signal states of a received optical signal. The receiver of the          based on a transmission quality of the optical signal of the one
  optical line termination OLT, of course, must be able to dis             of the plurality of optical fibers.
  tinguish between different signal states of the received optical            12. The passive optical network of claim 11, wherein the
  signal. This requirement, therefore, is only necessary once              plurality of signal States is decreased based on the transmis
  within the optical line termination OLT but not within the          55   sion quality of the optical signal of the one of the plurality of
  network terminations.                                                    optical fibers.
    Furthermore, it is possible that prior to the above                       13. The passive optical network of claim 11, wherein the
  described procedures—the signal states between the optical               transmission quality of the optical signal is an optical power
  line termination OLT and the network terminations are cali               of the optical signal of the one of the plurality of optical fibers.
  brated using so-called preambles. This calibration of the sig       60      14. The passive optical network of claim 11, wherein the
  nal states may as well be carried out any time when a new                transmission quality of the optical signal is at least one of an
  network termination is incorporated into the passive optical             error rate, error ratio and an eye opening of the optical signal
  network PON. Furthermore, any preamble sent in the                       of the one of the plurality of optical fibers.
  upstream direction may be used for the described calibration                15. An optical line termination being part of a passive
  and to inform the optical line termination OLT about the            65   optical network comprising said optical line termination
  possible number of signal States of the sending network ter              being connected via a plurality of optical fibers to a plurality
  mination.                                                                of network terminations wherein the optical line termination
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  is configured to generate an optical signal including a plural         terminations wherein the network termination is configured
  ity of signal states, each signal state corresponding to a dif         to receive an optical signal including a plurality of signal
  ferent sequence of bits, wherein the plurality of signal states        states, each signal state corresponding to a different sequence
  and the number of bits in each sequence are increased based            of bits, wherein the plurality of signal states and the number
  on a transmission quality of the optical signal of the one of the      of bits in each sequence are increased to a number of signal
  plurality of optical fibers.                                           states that is greater than two based on a transmission quality
     16. The optical line termination of claim 15, wherein the           of the optical signal of the one of the plurality of optical fibers.
  plurality of signal States is decreased based on the transmis            19. The network termination of claim 18, wherein the
  sion quality of the optical signal of the one of the plurality of      plurality of signal States is decreased based on the transmis
  optical fibers.                                                        sion quality of the optical signal of the one of the plurality of
     17. The optical line termination of claim 15, wherein the           optical fibers.
  transmission quality of the optical signal is an optical power           20. The network termination of claim 18, wherein the
  of the optical signal of the one of the plurality of optical fibers.   transmission quality of the optical signal is an optical power
     18. A network termination being part of a passive optical           of the optical signal of the one of the plurality of optical fibers.
  network comprising an optical line termination being con- 15
  nected via a plurality of optical fibers to a plurality of network                              k   k   k    k   k
